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             UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                  GAINESVILLE DIVISION

KARON WARREN, DEBORAH
KAPLAN, KIMBERLY KAVIN, and                 No. 2:24-CV-0007-RWS
JENNIFER SINGER,

                Plaintiffs,
          v.

UNITED STATES DEPARTMENT OF
LABOR; JULIE SU, as the acting U.S.
Secretary of Labor; ADMINISTRATOR
JESSICA LOOMAN, as the head of the
U.S. Department of Labor’s Wage and
Hour Division; and
U.S. DEPARTMENT OF LABOR,
WAGE AND HOUR DIVISION,

                Defendants.


   PLAINTIFFS’ CONSOLIDATED BRIEF IN OPPOSITION TO
DEFENDANTS’ CROSS-MOTION TO DISMISS OR ALTERNATIVELY
   FOR SUMMARY JUDGMENT, AND REPLY IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                              INTRODUCTION
      The economic realities test has long been a source of confusion for anyone

who wishes to maintain their independence as a contractor and for companies

that want to contract their services. This is because the economic realities test

has been articulated in various ways by the federal courts—all listing

numerous factors that may be relevant in any given case. But rather than

providing clarifying regulations to help avoid crossing the line into an

unwanted employer-employee relationship, the U.S. Department of Labor had

only historically issued sub-regulatory guidance that failed to provide

consistency in how the Department would enforce the Fair Labor Standards

Act (FLSA) in practice.

      Recognizing that this uncertainty plagued contractors and their clients,

in 2021 the Department promulgated a regulation to provide some measure of

predictability to help all parties better structure their working relations.

Independent Contractor Status Under the FLSA, 86 Fed. Reg. 1168 (Jan. 7,

2021) (2021 Rule). The 2021 Rule gave assurance to Plaintiff Jennifer Singer,

a freelance writer, that she was likely safe in working with contractors who

maintained control over their own work and who had opportunity for profit or

loss—even as the 2021 Rule required consideration of other relevant factors.

And likewise, it helped the other freelance writer Plaintiffs ensure that they

could reasonably order their affairs to avoid unwanted employee classifications

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should the Department ever audit their clients—an eventuality that would

threaten their vitality as independent businesses.

      But the Department has now reversed course. In January 2024, the

Department finalized another Rule (2024 Rule) to withdraw the 2021 Rule.

Independent Contractor Status Under the FLSA, 89 Fed. Reg. 1638 (Jan. 10,

2024). The Department’s 2024 Rule not only took away needed clarity in the

law, but it imposed a new wholly indeterminate test, under which the

Department will apply at least seven factors on an entirely ad hoc basis. Faced

with greater uncertainty than ever, Plaintiff Singer was compelled to stop

working with other freelance writers entirely. Singer Dec. ¶ 10. And other

hiring entities have responded in kind, such that the Plaintiffs, all proudly

independent contractors, have lost work from reasonably risk-adverse clients.

Kavin Dec. ¶ 14–15; Kaplan Dec. ¶ 10; Warren Dec. ¶ 11.

      Yet faced with this lawsuit from independent freelance writers,

Defendants seek to avoid a merits decision by arguing that independent

contractors cannot contest the validity of the Department’s independent

contractor regulations. They press this standing argument even though the

2024 Rule has: (a) prompted one of the Plaintiffs to stop working with

subcontractors to avoid unwanted liability; (b) created tremendous uncertainty

as to whether and to what extent Plaintiffs can remain contractors themselves,

and; (c) forced Plaintiffs to make changes to their businesses.

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        Defendants’ standing arguments are not distinct from their view of the

merits—and, specifically, their claim that the 2024 Rule merely turned back

the clock to the Department’s historic approach to the economic realities test. 1

See Defs.’ Brief in Support of Motion to Dismiss and in Opposition to Pltfs.’

Motion, (Opp. Br.) at 10 (arguing that “there is no credible basis for asserting”

that the 2024 Rule caused injury because it supposedly conforms to “the same

analysis” that courts had previously applied). While Plaintiffs agree that the

Court can and should reach the merits here, “standing in no way depends on

the merits.” See Warth v. Seldin, 422 U.S. 490, 500 (1975). However, on the

merits, Defendants are also wrong. The 2024 Rule was predicated on mistakes

of law. And the 2024 Rule raises a serious void for vagueness problem because

it takes away the only measure of predictability that independent contractors,

like Plaintiffs, had relied on to structure their business relationships. It is,

therefore, arbitrary and capricious and thus must be set aside.

                                 ARGUMENT
   I.     The Department’s Withdrawal of the 2021                     Rule    and
          Imposition of the 2024 Rule Violates the APA

        After decades of uncertainty in the scope of the FLSA’s text, the

Department synthesized over forty-five years of economic reality test case law

and issued an interpretation, the 2021 Rule, which provided long hoped for


1 For this reason, the Plaintiffs address the Defendants’ merits arguments

first, if only to give proper context to the “case or controversy” at hand.
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stability. See generally 2021 Rule, 86 Fed. Reg. 1168. Now, however, the

Department has withdrawn the 2021 Rule and replaced it with the 2024 Rule.

This decision was plainly based on an errant view of the law and the

Department’s mistaken understanding of the 2021 Rule. As a result, the 2024

Rule is arbitrary and capricious. Further, the 2024 Rule creates a void for

vagueness problem, which the Department failed to consider because it

erroneously concluded that it lacked authority to retain the 2021 Rule’s

crystalizing construction. For this reason, as well, the 2024 Rule failed to

consider “an important aspect of the problem,” of providing guidance to a

regulated community and is therefore arbitrary and capricious. Motor Vehicle

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983) (State Farm).

      A.   The 2021 Rule Was a Lawful Interpretation and Its
           Withdrawal Was Arbitrary and Capricious

      A rule is arbitrary and capricious when predicated on an errant view of

the law, or a mistaken understanding of prior regulations. See Pltfs.’ Mot. for

Summ. J. at 12 (citing various cases). As such, the 2024 Rule must be set aside

because the 2024 Rule is predicated on false legal premises—even if the

Department’s decision is a reversion to a prior regulation. See, e.g., Sec. &

Exch. Comm’n v. Chenery Corp., 318 U.S. 80, 94 (1943) (affirming that agency

action “may not stand if the agency has misconceived the law.”). The


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Department’s withdrawal of the 2021 Rule and thus its claimed need to replace

it with the 2024 Rule rests on two pillars: mischaracterizing the rule itself and

mischaracterizing the governing law. Defendants’ opposition and cross-motion

make the same errors.

         i. The 2021 Rule Is Consistent With the Statute and Case Law

      Defendants claim that the Department had no choice but to withdraw

the 2021 Rule because the FLSA and judicial precedent foreclose any

interpretation that gives any degree of weight to a specific factor. Opp. Br. at

14–15, 18–19. That is not true. It was well within the Department’s discretion

to interpret the nebulous language of the FLSA to provide a measure of

predictability. See Sackett v. EPA, 598 U.S. 651, 681 (2023) (criticizing an

agency for a “hopelessly indeterminate” statutory interpretation that left the

public to “feel their way on a case-by-case basis”). While the Department has

now chosen to disavow any approach that would give meaningful direction to

those seeking to structure their work, nothing requires that the Department

must pursue such an ad hoc approach.

               1. The Statutory Text Is Hopelessly Ambiguous Unless
                  Given a Crystalizing Interpretation

      Federal courts begin statutory analysis by looking to the text. But

unfortunately, the FLSA is unilluminating on the vital question of how to

distinguish between legitimate independent contractors and employees. The


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FLSA provides no definition of an independent contractor and provides only

circular definitions when defining “employer” and “employee.” See 29 U.S.C.

§ 203(d)–(e). The Defendants’ focus on the FLSA’s definition of “employ[,]”

fares no better. See Opp. Br. at 18. Although these terms require interpretive

guidance, Defendants argue that the text of the FLSA was in tension with the

Department’s 2021 Rule, Opp. Br. at 18–19.

      Defendants argue that the FLSA’s term “employ” forecloses the

Department’s 2021 Rule interpretation because a person employs another if

they “suffer or permit [them] to work.” Opp. Br. at 18–19. But this text is

hopelessly nebulous. It derives meaning only from the context of its use in early

20th Century state law enactments that aimed to expand the scope of the

employer-employee relationship beyond what the common law would

recognize. Rutherford Food Corp. v. McComb, 331 U.S. 722, 728, n.7 (1947)

(summarizing the relevant history of the phrase and its derivation from child

labor laws).

      This leaves open a wide range of interpretive options. For example, the

California Supreme Court now interprets the “suffer or permit” standard as

imposing a rigid three-part test that forecloses any independent contracting

relationships when the work performed is deemed essential to the hiring

entity’s business model—regardless of any countervailing considerations. See

Dynamex Operations W. v. Superior Ct. of L.A., 4 Cal. 5th 903, 936 (2018)

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(changing its longstanding interpretation of text derived from a 1913

enactment). By contrast, the U.S. Supreme Court has interpreted the “suffer

or permit” standard as entailing an inherent economic realities test, which

requires weighing a multiplicity of factors. See Rutherford, 331 U.S. at 730

(finding the determination of a worker’s status turns on several factors). And

Rutherford, in turn, raises the question of how the Department should balance

competing factors—a question that the Department sought to answer,

consistent with case law, in the 2021 Rule

      At the same time, Congress did not intend to abandon the ordinary

meaning of the terms “employer” and “employee.” See Perrin v. United States,

444 U.S. 37, 42 (1979) (affirming that statutory words are usually “interpreted

as taking their ordinary, contemporary, common meaning”). Accordingly, the

Department was correct to acknowledge, in the 2021 Rule, the “commonsense

logic that, when determining whether an individual is in business for him- or

herself, the extent of the individual’s control over his or her work is more useful

information than, for example, the skill required for that work.” 2021 Rule, 86

Fed. Reg. at 1199. See Restatement (First) of Agency § 2 (1933) (recognizing

that a worker who controls the performance of the work is more likely to be a

contractor). And likewise, a worker who faces the risk of loss and opportunity

for profit is, intuitively, more likely to be independent. Id.



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      Defendants ignore this argument. They do not rebut the idea that the

FLSA incorporated the ordinary understanding of the terms “employer” and

“employee.” Instead, they simply reassert that the “suffer or permit to work”

language “demonstrates Congress’ intent for the FLSA to broadly cover

workers as employees.” 2 Opp. Br. at 18 (citing Nationwide Mutual Ins. v.

Darden, 503 U.S. 318, 326 (1992)).

      There is no tension between the ideas that, on one hand, the FLSA

should be given a broad scope, and, on the other, that the common law

definition of “employer” and “employee” is relevant, though not determinative,

in contextualizing that broad scope. Consistent with both precepts, the 2021

Rule is more inclusive than the common law test—while still affording

appropriate weight to the control and opportunity for profit factors. See 2021

Rule, 86 Fed. Reg. at 1200–01 (discussing in detail why the “core factors”

analysis is broader than the common law test). This “middle way” is

permissible because it gives effect to the FLSA text as a whole, including the




2 If taken to its literal extreme, a rule deeming anyone an employer who
“suffer[s] or permit[s]” another to perform any “work” would lead to absurd
results. No one believes that a homeowner employs the plumber who fixes a
leaky pipe. Yet in a literal sense the homeowner has permitted the plumber to
perform work in asking for the repair. Likewise, any business that contracts
with a freelance writer to do any project has—in a literal sense—suffered or
permitted the writer to perform work.
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“suffer or permit” language. Encino Motorcars, LLC v. Navarro, 584 U.S. 79,

89 (2018) (the FLSA text should be given a “fair reading”).

      Defendants insist that the FLSA’s remedial goals require an especially

“broad[]” and indeterminate interpretation of the employer-employee

relationship. Opp. Br. at 18–19. But Encino repudiated the argument that the

FLSA’s general statement of policy puts a thumb on the scale. 584 U.S. at 88–

89. Contrary to the Defendant’s characterization, the Encino Court rejected

the remedial canon of construction. Id. And the 11th Circuit has rejected the

argument that Encino is limited to construing the FLSA’s exemptions. See

Hernandez v. Plastipak Packaging, Inc., 15 F.4th 1321, 1329–30 (11th Cir.

2021).

                 2. The 2021 Rule Is Consistent with Decades of Case Law

      Defendants rely heavily on general statements from various cases that

have, at some point, repeated the line that the economic reality test turns on

the “circumstances of the whole activity,” that no single factor is “dispositive,”

and that the economic reality factors should not be assigned “invariably

applied weight.” Opp. Br. at 14–15. For this reason, they argue that the

Department had to withdraw the 2021 Rule. Id. But Defendants flatly ignore

the Department’s systematic survey of every court of appeals decision between

1975–2021, which was the foundation for the 2021 Rule. Consequently, the

Department has backtracked and thus failed to seriously consider the

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possibility of a crystalizing construction that would give greater direction to

hiring entities and contractors alike. See Opp. Br. at 14–18 (insisting the 2021

Rule was foreclosed by case law).

      The Department’s exhaustive case law survey for the 2021 Rule

identified two “core” factors—i.e., (i) the nature and degree of control over work

and (ii) the individual’s opportunity for profit or loss—as the “most probative”

factors in determining whether a worker is truly independent. 2021 Rule, 86

Fed. Reg. at 1171. The Department concluded that these two factors, control

and opportunity, warrant emphasis but are not dispositive. Id. When those

factors are aligned, there is a “substantial likelihood” that they point to the

individual’s proper classification. Id at 1179. In fact, the Department

confirmed that the federal courts, in every surveyed case, were already applying

the economic reality test such that, when the “core factors” were aligned, they

also aligned with the ultimate classification of the worker. Id. But this was not

the sea change that the Defendants claim because the 2021 Rule was, in fact,

consistent with forty-five years of case law in both: (i) recognizing a substantial

likelihood that a worker’s classification is correct when the control and




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opportunity for profit factors aligned, and (ii) ensuring adequate consideration

of other relevant factors. 3

      Defendants have no answer to the 2021 Rule’s systematic survey. They

suggest that it was only a “coinciden[ce]” that those factors were consistently

aligned. Opp. Br. at 16. But the Department could not have acted contrary to

law, in 2021, when codifying a rule consistent with the uniform outcome of

every court of appeal decision since 1975.

      For that matter, Defendants cannot rely on Scantland v. Jeffry Knight,

Inc., because that opinion affirmed that the economic realities test can be

articulated in different ways. 721 F.3d 1308, 1311–12 (2013) (observing that

“[c]ourts have applied various” iterations of the economic realty test). The

Scantland court enumerated a number of factors to serve as guides, while

recognizing that the “overarching focus of the inquiry is economic dependence.”

Id. at 1311–12. As such, it was undoubtedly within the Department’s discretion

to promulgate the 2021 Rule, consistent with its thorough case law survey,

because the “overarching focus” of the 2021 Rule was still “economic

dependence.” Id.


3 While it is true that some courts said that the economic reality test factors

should not be given “invariably applied weights,” Opp. Br. at 14, this does not
mean that the factors must be entirely unweighted. Even in Rutherford and
United States v. Silk, the Court emphasized the opportunity for profit, while
de-emphasizing less significant factors, like the hours worked. Rutherford, 331
U.S. at 730–31; Silk, 331 U.S. 704, 719 (1947).
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        ii. The 2021 Rule Is Not “Mechanical” and Does Not Render
            Any Particular Factor “Dispositive”

      Defendants argue, as the Department did when finalizing its 2024 Rule,

that the 2021 Rule ran counter to precedent by adopting an impermissible

“mechanical or formulaic application of the economic reality test” and by

adopting a rule that makes certain factors “invariably predominate” over

others. Opp. Br. at 14–15; 2024 Rule, 89 Fed. Reg. at 1651. That argument was

wrong then, and it is wrong now. There is no basis for Defendants’ claim that

the 2021 Rule operated mechanically to codify the common law employer-

employee test. 4 Opp. Br. at 19. Contrary to Defendants’ “mechanistic"

characterization, the 2021 Rule affirmed the holistic nature of the economic

realities test. See 2021 Rule, 86 Fed. Reg. at 1201 (affirming the traditional

economic reality factors). Because the 2024 Rule is based upon a misconception

of law, it is arbitrary and capricious. See Chenery, 318 U.S. at 94.

      The 2021 Rule does not ignore the remaining economic reality test

factors, as Defendants wrongly assert. Opp. Br. at 18. The Department

expressly declined to elevate its analysis of two core factors into a presumption

in 2021. 86 Fed. Reg. at 1202. The 2021 Rule qualified that “this is a totality of

the circumstances analysis, based on the facts.” Id. at 1179. As discussed



4 Elsewhere, the Department acknowledges that the 2021 Rule was not a
mechanical rule. Opp. Br. at 24 (arguing certain commentators mistook the
2021 Rule as giving dispositive weight to the core factors).
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above, the Department recognized that the core factors were “most probative,”

but still acknowledged the significance of three of other factors that are

relevant to determining a worker’s classification—i.e., skill, permanence, and

whether the work is part of an “integrated unit of production.” See id. at 1247.

And under the 2021 Rule, “[t]hese factors are not exhaustive, and no single

factor is dispositive.” Id. at 1246 (emphasis added).

      B.   The Withdrawal Failed to Consider the Department’s
           Obligation to Promulgate Rules with Objective Standards to
           Which Ordinary People Can Understand and Conform

      As discussed above, the Department acted lawfully when it adopted a

crystalizing construction that was consistent with the approach that the

federal courts of appeal had already adopted. The Department was obligated

to seriously consider this crystalizing construction, because an agency must

consider all important “aspect[s] of the problem” it confronts. State Farm, 463

U.S. at 43. Here the problem it confronted was a question of how to provide

meaningful direction for the regulated community—and how the Department

should set its own enforcement priorities—given the inherent ambiguities in

the FLSA’s text. Even if the FLSA forecloses a “mechanistic” approach to the

economic realities test, it cannot foreclose due process requirements.

      Due process requires that the Department must interpret the statute

with “sufficient definiteness that ordinary people can understand what conduct

is prohibited” and in a manner that discourages “arbitrary and discriminatory

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enforcement.” Sackett, 598 U.S. at 666 (citation omitted). That is what the 2021

Rule does. But instead of grappling with that constitutional mandate, the

Defendants cherry-pick scattered circuit court language to arrive at an

ambiguous and standardless rule.

      The Department has no answer to Plaintiffs’ void for vagueness

arguments. It just baldly declares “that the 2024 Rule provides more

predictability” for regulated parties than the 2021 Rule. Opp. Br. at 21. That

is nonsense. In the real world, people need objective rules with predictable

results because they need to understand their legal obligations when arranging

their affairs. Sackett, 598 U.S. at 666. Regulated parties cannot be left to “feel

their way on a case-by-case basis” when they face major liabilities for any

misstep. Id. at 681 (citations omitted). As such, it was appropriate for the

Department, in 2021, to develop an interpretive lens that would provide at

least a measure of direction in recognizing that there is substantial likelihood

that a worker’s classification was correct when the control and opportunity

factors were aligned.

      By contrast, the 2024 Rule refused to consider the regulated

community’s need for meaningful direction. It is no answer for the Defendants




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to say that the FLSA requires a completely ad hoc approach. 5 Due process and

the constitutional avoidance canon demand that courts (and federal agencies)

reject interpretations that create void for vagueness problems. See Crowell v.

Benson, 285 U.S. 22, 62 (1932) (affirming courts must prefer a reasonable

construction that avoids constitutional problems).

      The 2024 Rule is, without question, unconstitutionally vague. The

Plaintiffs and those with whom they work stand in the same position as the

Sackett family, which sought to build a home on their land in Idaho. Sackett,

598 U.S. at 661–62. The Sacketts were left in a decades-long quandary, and

threatened with ruinous liabilities, because it was entirely unclear how far the

Environmental Protection Agency’s jurisdictional reach extended under the

Clean Water Act. Id. The Supreme Court ultimately repudiated EPA’s

nebulous interpretation, in part, because it ran afoul of the void for vagueness

doctrine. Id. at 681 (stressing that the agency’s interpretation was “hopelessly

indeterminate”).

      Like the Sacketts, there is simply no way for the Plaintiffs or their clients

to know, under the Defendants’ approach, when they are crossing the line into


5 Even if it is true that a void for vagueness claim must be assessed on the facts

of the case at hand, Opp. Br. at 28, the Administrative Procedure Act requires
federal agencies to consider all important aspects of the problem when
promulgating regulation. As such, the Department had a responsibility to
consider void for vagueness concerns more generally when promulgating the
2024 Rule.
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an unwanted employment relationship. Because the 2024 Rule prohibits the

Department from giving any degree of weight to any given factor, the regulated

public is grasping for direction. 2024 Rule, 89 Fed. Reg. at 1651, n.127 (stating

it “is impossible to assign to each of these factors a specific and invariably

applied weight”). All they find is a non-exhaustive list of indeterminate factors

that the Department might choose to weigh differently in any given case.

       In the absence of any objective standard or interpretation, the Plaintiffs

and their clients are left playing a high stakes game of craps. They can choose

to roll the dice and hope that the Department will exercise its ad hoc

enforcement discretion in their favor. Risk adverse companies will, of course,

err on the side of caution—which means treating everyone like an employee.

See How to Distinguish Between Employees and Independent Contractors.

Nat. Fed. of Ind. Bus. (July 20, 2016) (observing that companies err on the side

of classifying workers as employees to “avoid [] potentially catastrophic

liabilities”). 6

       Even when multiple factors seem to militate in favor of an independent

contractor classification, the hiring entity is forced to bet that the Department

will not choose to put greater weight on other countervailing factors—including

unenumerated considerations that the Department might deem relevant in its


6 https://www.nfib.com/content/legal-compliance/labor/how-to-distinguish-

between-employees-and-independent-contractors-74759/ (“NFIB Guidance”).
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ad hoc approach. For example, Plaintiff Singer has suspended work with

independent contractors because she does not want to risk liability under the

2024 Rule’s wholly indeterminate approach. Plaintiff Singer wants to work

with other writers who would perform work “critical, necessary, or central” to

her “principal business[,]” which is writing. 29 C.F.R. § 795.110(b)(5). This

factor invariably cuts against her under the 2024 Rule. And because the

Department disavows any knowable formula for weighing the various

economic reality factors, she has no way of being sure that the Department will

not weigh this factor heavily against her.

      Likewise, the “[d]egree of permanence of the work relationship” factor

may cut against anyone who chooses to continue working with a contractor on

a regular basis because the Department may deem this a “continuous”

relationship. 29 C.F.R. § 795.110(b)(3). For example, if Plaintiff Singer had

worked with specific writers in the past, her risk would be all the greater in

working with them again. Because the 2024 Rule is wholly indeterminate,

there is no way to know in advance how heavily the Department would weigh

this factor. After all, the Department stresses that “the weight to give [any

given] factor may depend on the facts and circumstances of the particular

relationship.” 2024 Rule, 89 Fed. Reg. at 1742.

      Worse still, even if all but one factor seems to point toward an

independent contractor status, there is still no way to know, ex ante, how the

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Department will choose to weigh the factors under the 2024 Rule. Every factor

is amorphous. And any combination of factors may result in whatever outcome

the Department deems fit in any given case. See 29 C.F.R. § 795.110(a)(2)

(emphasizing that “no one factor or subset of factors is necessarily dispositive”).

This is in contrast to the 2021 Rule, which provided guidance on which factors

were most helpful in guiding the regulated community, while not disregarding

other probative factors. See supra 9–11.

      Further exacerbating vagueness and due process problems, the 2024

Rule creates even more uncertainty than the Department’s pre-2021 sub-

regulatory guidance. For example, the 2024 Rule provides that the control

factor may cut against an independent contractor classification if the hiring

entity controls “the economic aspects of the working relationship.” 2024 Rule,

89 Fed. Reg. at 1693. The Department asserts that this is a “common

formulation” of the control factor. Opp. Br. at 26. But it fails to point to even a

single appellate decision using this formulation. Id. at n.14 (identifying only

cases looking to “supervision and monitoring” of workers under the control

factor). Likewise, the new rule provides that a worker is more likely to be

deemed an employee if their work is “critical, necessary, or central” to the

contracting company’s business, even though it admits that the Supreme Court

has never used this formulation. See Opp. Br. at 25. While the Department

insists this approach is more probative to the ultimate inquiry, it ignores that

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this new articulation calls into question essentially every business model that

relies on independent contractors. In any event, the Department is wrong in

asserting that the 2024 Rule provides greater clarity simply because it

(supposedly) restores the status quo ante. Opp. Br. at 3, 10. Even if the 2024

Rule was simply turning back the clock, that does not resolve the problem that

people, like Plaintiff Singer, confront daily in trying to navigate these issues.

The Department was required to offer a crystallizing construction, or at a

minimum, explain why it was leaving the regulated community without one.

   II.      Plaintiffs Have Article III Standing

         Defendants argue that Plaintiffs lack standing because their injuries are

too speculative. Opp. Br. at 8–9. Defendants also argue that Plaintiffs lack

standing because the 2024 Rule simply restores the Department’s historic

approach to the economic reality test. Opp. Br. at 3, 10. However, this assertion

begs the question; it assumes this Court will accept the Defendants’ view on

the merits. But “standing in no way depends on the merits.” Chiles v.

Thornburgh, 865 F.2d 1197, 1202 (11th Cir. 1989) (quoting Warth, 422 U.S. at

500); see also W. Virginia by & through Morrisey v. U.S. Dep’t of the Treasury,

59 F.4th 1124, 1137 (11th Cir. 2023) (recognizing that the Treasury Secretary’s

argument against plaintiffs’ standing goes to the merits of the plaintiffs’

claims). Both arguments fail.



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      A.   Injury to Singer as a Hiring Entity

      Defendants acknowledge that Plaintiff Singer must determine the

proper classification of anyone who performs work on her projects. Opp. Br. at

10. And they do not dispute that anyone who misclassifies an employee may be

subject both to major civil liabilities and potential criminal prosecution.

Nonetheless, Defendants deny that the Department has caused injury to

Singer in removing the certainty that she enjoyed under the 2021 Rule, which

had enabled her to make classification decisions with confidence until its

withdrawal and substitution with the 2024 Rule. 7

      Defendants argue that it is unreasonable for Singer to be concerned

about liabilities under the 2024 Rule because that rule merely restored the

Department’s historic approach to the economic realities test. Id. But this

ignores that the 2021 Rule changed the legal landscape to give much needed

predictability to the economic realities test, which had been lacking. And in

changing the legal landscape again, the Department has now made it more

complicated for Singer (or anyone else) to know when they can classify a worker

as an independent contractor. 8


7 This is an injury capable of redress because a decision setting aside the 2024

Rule would restore the 2021 Rule; this would provide Singer with the
predictability she needs to safely commission subcontractors again.
8 Defendants assert, without authority, that Singer should have alleged that

she changed her business practices in reliance on the 2021 Rule. Opp. Br. 10.
But her pre-2021 business practices are irrelevant to the new legal landscape

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      Defendants next argue that Singer has responded unreasonably to the

2024 Rule because the Department has provided guidance suggesting that

freelance writers “may” sometimes be classified as independent contractors.

Opp. Br. at 9. But the 2024 Rule made clear that the Department will take an

entirely ad hoc approach to enforcement. 2024 Rule, 89 Fed. Reg. at 1639

(stressing that the Department will no longer give any factor “predetermined

weight”). Because Singer cannot know in advance how the Department will

weigh the various factors, she has reasonably exercised prudence. This is a

rational response to regulatory uncertainty. See supra, NFIB Guidance.

      B.    Injury to Independent Contractors

           i. Contractors Are the Object of Regulation

      Defendants argue that Plaintiffs lack standing to challenge the 2024

Rule in their capacity as independent contractors. But Plaintiffs are not merely

“concerned bystanders.” Food & Drug Admin. v. All. for Hippocratic Med., 144

S. Ct. 1540, 1556 (June 13, 2024). As independent contractors, the Plaintiffs

are the subject of regulation. Therefore, they have a “personal stake in the

outcome” of this controversy. Warth, 422 U.S. at 498 (quoting Baker v. Carr,

369 U.S. 186, 204 (1962)).




under the Department’s 2024 Rule, which was a significant departure from
both the 2021 Rule and the historic economic realities test.
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      Defendants argue that the Department’s regulation only directly affects

businesses that work with contractors. This is wrong because the 2024 Rule

interferes with independent contracting relationships on both sides. True, the

hiring entity bears the ultimate risk if there is a misclassification. But the Rule

directly affects the right of independent contractors to enter mutually

beneficial service agreements because—in expanding the scope of the FLSA’s

employer-employee relationship—the 2024 Rule abrogates freedom of

contract. 9

      Independent contractors are required now to conform their working

relationships to the 2024 Rule if they want to ensure that the Department will

not deem them subject to an unwanted employer-employee relationship.

Accordingly, the Plaintiffs have reasonably responded by changing their

business practices and adjusting business relationships to minimize the threat

of misclassification. See Singer Dec ¶ 7, 10; Kavin Dec. ¶ 14; Kaplan Dec. ¶ 11.

And they are required to continuously exert energy evaluating each new

contract to ensure that they are comporting their business practices to avoid




9 The purposes of both the 2021 Rule and 2024 Rule are to determine the status

of a worker, and thus whether the FLSA’s requirements are germane. See 2021
Rule, 86 Fed. Reg. 1168, and 2024 Rule, 89 Fed. Reg. 1638. Both Rules are
regulating business relationships—not merely “employers.”
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an undesirable legal classification. 10 Warren Dec. ¶ 12; Kaplan Dec. ¶ 11. This

is sufficient basis for standing. See Food & Drug Admin., 144 S. Ct. at 1556

(noting that injury and causation are “easy” to establish when regulations

“require or forbid some action by the plaintiff.”).

      Defendants cannot evade judicial review by arguing that the Plaintiffs

must be reclassified as employees by the companies with whom they work to

establish standing. That is wrong. It is the 2024 Rule (not the actions of a third

party) that governs the Department’s classification of workers. Because the

Department requires the Plaintiffs to conform their relationships to the 2024

Rule to maintain their independent status, they are suffering a “here-and-now

injury.” Axon Enter., Inc. v. Fed. Trade Comm’n, 598 U.S. 175, 191 (2023)

(quoting Seila Law LLC v. Consumer Financial Protection Bureau, 140 S. Ct.

2183, 2196 (2020)).

        ii. Plaintiffs Have Lost Work Under the 2024 Rule
      The 2024 Rule has already prompted some businesses to sever their ties

with the Plaintiffs. Kavin Dec. ¶ 14 (“I have already lost opportunities for

projects”); Kaplan Dec. ¶ 10 (“One client has already told me she will not use

my editing services for fear of running afoul of the new Rule”); Singer Dec. ¶ 10




10An unintended “employee” designation would be problematic because it
would give heightened reason for other clients to classify the Plaintiffs as
employees or to sever their working relationships.
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(stating she will not use freelancers under the rule). See also Kavin Dec. ¶ 15

(Plaintiff had to renegotiate her contracts with two clients). These “general

factual allegations” are “sufficient” at the motion-to-dismiss stage. Worthy v.

City of Phenix City, 930 F.3d 1206, 1214 (11th Cir. 2019) (internal quotations

omitted). See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (holding

that elements of standing must be supported “with the manner and degree of

evidence required at the successive stages of the litigation.”). And it matters

not that these are consequential injuries.

      There is no question that standing can be based on the “predictable effect

of Government action on the decisions of third parties.” Dep’t of Com. v. New

York, 588 U.S. 752, 768 (2019). See Bennett v. Spear, 520 U.S. 154, 169 (1999)

(affirming standing can be based on “injury produced by determinative or

coercive effect upon the action” of a third party). And it was entirely predictable

that companies would respond to the regulatory uncertainty created by the

2024 Rule’s freewheeling approach by taking steps to reduce their risk.

Industry groups warned this would happen. 11 After all, the only way to be




11 See Comment Letter of U.S. Chamber of Commerce, et al., Regulations.gov

(Dec. 14, 2022) (explaining that the 2021 Rule provided “badly needed clarity”
and that removing that clarity would discourage businesses from using
contractors), https://www.regulations.gov/comment/WHD-2022-0003-53819.
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entirely safe is to err on the side of classifying everyone as an employee. 12 See

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127–29 (2007) (affirming

that parties should not have to expose themselves to liability to establish

standing). As these are the predictable effects of the Department’s action, there

is “substantial risk” that the harm will continue to occur. Susan B. Anthony

List v. Driehaus, 573 U.S. 149, 158 (2014).

                                CONCLUSION

      For the foregoing reasons, Defendants’ Motion should be denied, and

Plaintiffs’ Motion should be granted.

      DATED: July 2, 2024.


                                        Respectfully submitted,

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12 Cf. Vox Media Cuts Hundreds of Freelance Journalists as AB 5 Change

Looms, LA Times (Dec. 17, 2019), https://www.latimes.com/business/story/
2019-12-17/vox-media-cuts-hundreds-freelancers-ab5 (discussing industry
response to changes in California law governing independent contractors).
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          CERTIFICATE OF COMPLIANCE WITH LR 7.1(D)

     Counsel for Plaintiffs hereby certifies that this brief has been prepared

in 13-point, Century Schoolbook font.


                                             s/ Luke Wake
                                             LUKE A. WAKE




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                       CERTIFICATE OF SERVICE

      I hereby certify that on July 2, 2024, I served this document via the

Court’s electronic filing system to the Defendants.

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